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                                                            UNITED STATES DISTRICT COURT
                                        Eastern                                                   DISTRICT OF                                       Wisconsin



                                                                                                                                 EXHIBIT AND WITNESS LIST
                                                 v.
                                                                                                                                   Case Number: 12-CV-664

     PRESIDING JUDGE                                                         PLAINTIFF'S ATTORNEY                                        DEFENDANT'S ATTORNEY
      JUDGE J.P. Stadtmueller                                                 James J. Gende                                             Susan Lappen
     TR!AL DATE (S)                                                          COURT REPORTER                                              COURTROOM DEPUTY
      03/25/2019
      PLF.      DEF.           DATE             MARKED ADMITTBD                                                      DBSCRIPTJON OF EXHIBITS• AND WITNESSES
      NO.       NO.         OFFERED

         1                                                                    Milwaukee County Health Transfer Summary dated 9/13/1 O,

       2                                                                      MIiwaukee County Major Incident Report dated 9/13/10,

       3                                                                      MIiwaukee County- Progress Notes Summary.

       4                                                                      Milwald<ee Criminal Justice Facltlty Jan log dated 9/13/18,

       5                                                                      Time line for Perry, James Franklin.

       6                                                                      Incident Report Mllwaukee Pollca Department supplement 0015.

      7                                                                       Aurora Sinai Medical Center Certified Medical Records dated 9/13/10.

      8                                                                       City of MUwaukee Medical Receiving Screening Form dated 9/13/10.

      9                                                                       Incident Repo1i Milwaukee Police Department Supplement 003.

     10                                                                      MIiwaukee Police Department Standard Operating Procedure- Prisoners dated 5/19/10.

     11                                                                      fncldent Report Milwaukee Pollce Department ORIG page 2 of 7.

     12                                                                      MIiwaukee Police Department Educational Mater/ala~ Student Version.

     13                                                                      lncfde11t Report Milwaukee Police Department Supplement 0022.

     14                                                                      lnciclenl Report Milwaukee Police Department Supplement No 002 dated 9/13/10.

     15                                                                      Milwaukc,:1e Polrce Department: Positional Asphyxia.

     16                                                                      Detailed History for Pollce Call,

     17                                                                      Incident Report MIiwaukee Police Department.

     18                                                                      lnoident MIiwaukee Polfce Department Sl1pplement 0012.

     18                                                                      Incident Report Mtlwauk00 Pollce Depal'tment Supplement 0012.

    20                                                                      Milwaukee Police Department Standard Operattng Procedure- Prisoners~ Investigative Holds.

    21                                                                      Incident Report MIiwaukee Police Dept. Suppf0ment No 0004.

    22                                                                      Jnc!dent Report Milwaukee Police Department Suppfement No. 0005,
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                                                         UNITED STATES DISTRICT COURT
                                       Eastern                                                  DISTRICT OF                                       Wisconsin



                                                                                                                               EXHIBIT AND WITNESS LIST
                                              v.

   PRESIDING JUDGE                                                         PLAINTIFF'S ATTORNEY                                       DEFENDANT'S ATl'ORNEY
    JUDGE J.P. Stadtmueller                                                 James J. Gsnde                                             Susan Lappen
   1RIALDATE (S)                                                          COURT REPORTER                                              COURTROOM DEPUTY
    03/25/2019
    PLF.      D=.            DATE
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    NO.        NO.

     23                                                                     lnclclent Report Milwaukee Police Department Supplement no. 0012,

     24                                                                     Dally Gell Block Chock.

     25                                                                    MIiwaukee Police Department Paradtgm Shift: Struggllng and resistance can Indicate an Immediate

    26                                                                     Major Incident Reporl dated' 9/13/10.

    27                                                                     Ml/Waukee County Jai, Log.

    28                                                                     Transcript of Chief Ed Frynn U Tube Video 10/30/12.

    29                                                                     Milwaukee Police Department Memorandum dated November 21, 2012.

    30                                                                     News Article "Chief Ed Flynn on Derel< WIiiiams' Death" dated 10/24/12.

    3·1                                                                    Incident Report Mltwaukee Police Department dated 9/13/1 0 Supplement 0025.

    32                                                                     Second Supplement Responaes of City of Milwaukee Defendants to Plaintiffs' Request Nos. 2 and

   33                                                                     MIiwaukee Pol!ce Department SWndard Operating Procedure 090 Prisoners effective May 19, 2010

   34                                                                      Incident Report Mllwaukae Police Department Supplement 0030 dated 10/12/12.

   35                                                                     Incident R0port Milwaukee Police Department Supplement 0008 dated 9/14/10,

   36                                                                     Milwaukee Polloe Department Memorandum dated 11/21/12.

   37                                                                     Aurora Sinai Medlcal Center Medloal Records 9/13/10.

   38                                                                     Reports from Del. Davis Folder.

   39                                                                     Incident Report MIiwaukee Pol/ca Department Supp. 23.

   40                                                                     lncldenl Report MIiwaukee Pollce Department Supp. 003.

   41                                                                     Incident Repxc Mllwaukel'.l PoHce Department Supp. 0024.

   42                                                                     Incident Report Milwaukee Police Department Supp. 0025.

   43                                                                     Milwaukee Fire Department Ambulance Record.

  44                                                                     MllwaukAe Flre·Department ln Matter OF: 212/11.
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                                                        UNITED STATES DISTRICT COURT
                                      Eastern                                                 DISTRICT OF                                      Wisconsin



                                                                                                                             EXHIBIT AND WlTNESS LIST
                                               v.
                                                                                                                               Case Number: 12-CV-664

   PRESIDING JUDGE                                                       PLAINTIFF'S AITORNEY                                        DEFENDANT'S ATTORNEY
    JUDGE J.P. Stadtmueller                                               James J, Gende                                              Susan Lappen
   TRIAL DATE (S)                                                        COURT REPORTER                                              COURTROOM DEPUTY
    03/25/2019
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    NO.        NO.         OFFERED

    45                                                                    Incident Report MIiwaukee Police Department Supplement No 0015.

    46                                     '                              Sandry Notes.

    47                                                                    Draft Version of Sandry Report.

    48                                                                    Email corraspondenoo Susan Lappen to Sandry 2/5/15.

    49                                                                    MIiwaukee Police Department Expectora.nt Shield Training.

    50                                                                    Email from Michelle Sandry to Susan Lappen 4/16/15,

    51                                                                    Prcturea of the -Scene after the Passing of Perry.

    52                                                                    Expert Report of Robert Prevot dated November 25, 2014.

   53                                                                    Expert Report of Rachel Waldron dated November 24, 2014.

   5~-                                                                    Medical Records from WLCFS Christian Famfly Counseling.

   55                                                                    Medlcal Examiners Investigative Report,

   56                                                                    Medical Examiners Hand Notes.

   57                                                                    Medlo0I l::xaminers' Hand Notes.

   58                                                                    MIiwaukee County Bales No 0463.

   59                                                                    Demographic Report.

   60                                                                    Mifwaul<ee County Polley Laga! DLrty o·f Care.

   61                                                                    Video Recordings from MIiwaukee County JaU.

   62                                                                    Video Compiled from Videos provided by Defendants.

   63                                                                    Video of PPS Adult Booking 1 Elevator Camera.

   64                                                                   Video of PPS Elevator Cam.

  65                                                                    Video Adult Booking Hallway Cam.

  66                                                                   Vldoo Booking Room 513 Cam,
* Tncludc a notation .ns to the locaflon of i1ny exhibit 11ot hohl with tl1e cnso file 01· not aw11fablo boc111we of s12e.
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                   Case 2:12-cv-00664-JPS Filed 02/25/19 Page 3 of 15 Document 323
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                                                            UNITED STATES DISTRICT COURT
                                         Eastern                                                    D1S1RICTOF                                       Wisconsin



                                                                                                                                   EXHIBIT AND WITNESS LIST
                                                 V.
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     PRESIDING JUDGE                                                          PLAINTIFF'S ATTORNEY                                         DEFENDANTS ATTORNEY
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     TRIAL DATE (S)                                                           COURT REPORTER                                               COURTROOM DEPUTY
      03/25/2019
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      NO,

       67                                                                      Video Booking Room 518 ca.m.

      68                                                                       Video PPS Elevator Cam.

      89                                                                       Video Booking Room 516 Cam.

      70                                                                       Video Booking Room 519 Cam.

      71                                                                      Amendment to SOP 090 Prisoners.

      72                                                                      Responses of the City of Milwaukee Defendants to Plaintiffs' First Requests for Defendants to Prod

      73                                                                      Supplemental Response of the CHy of Milwaukee Defendants to Plalntlffs' Request Nos. 1, 2, & 16

      74                                                                      Responses to PJaintrffs' First Sat of Interrogatories to Alexander C.. Ayala dated 03106/2014,

      75                                                                      Responses to Plaintiffs' Fir.st Set of Interrogatories 1o Jacob (vy dated 03/07/2014.

      76                                                                      Reaponaes io Plalntiffs' First Set of Interrogatories to Luke Lee dated 03/07/20"14.

     77                                                                       Responses to Plaintiffs' First Set of lnterrogatorJes to Rick Bungert dated 03/07/2014.

     78                                                                       Responses ta Plaintiffs' First Set of Interrogatories lo Karl Robbins dated 03/07/2014.

     79                                                                       Responses to Plaintiffs' FJrst Sot of lnterrogstoriea to f'roilan Santiago dated 03/07/2014.

     80                                                                       Responses to Plalnllffs' First Set of Interrogatories to Margarlta Diaz-Berg dated 03/07/2014.

     81                                                                      Responses to Plalntlffa' First Set of Interrogatories to Corey Kroes dated 03/10/2014.

     82                                                                      Responses to Plaintiffs' Firs! Sal of Interrogatories to Crystal Jacl,s dated 03/10/2014.

     83                                                                      Responses to Plalnt!ffs' First Set of Interrogatories-to Frank Sallnsky dated 03/10/2014.

     84                                                                      Responses 10 Plaintiffs' First Set of Interrogatories to Richard Lopez dated 03/1112014.

     85                                                                      Third Supplemental Responses of lhe City of MIiwaukee D0fendants to PlalntlHs' Request No. 4 for

     86                                                                      Responses to Plaintiffs' Second Request for Admissions to all City Defendants dated 08/12/2014.

    87                                                                       Responses to Plaintiffs Third Request for Admlssrons to all C!ty Defendants dated 04/24/20'10.

    88                                                                       Re$ponses to Plaintiffs' First Request for Admissions and Interrogatories ·lo Rich Bungert dated 07/
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                     Case 2:12-cv-00664-JPS Filed 02/25/19 Page 4 of 15 Document 323
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                                                    UNITED STATES DISTRJCT COURT
                                    Eastern                                             DISTRICT OF                                         Wisconsin



                                                                                                                      EXHIBIT AND WITNESS LIST
                                           v.
                                                                                                                        Case Number: 12-CV-664

   PRESIDING JUDGE                                                   PLAINTIFF'S ATTORNEY                                      DEFENDANT'S ATTORNEY
    JUDGE J.P. Stadtmueller                                           James J. Gende                                            Susan Lappen
   TRIAL DATE (S)                                                    COURT REPORTER                                            COURTROOM DEPUTY
    03/25/2019
   PLfl.     DEF.          DATE
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    NO.       NO,        OFFERED

    89                                                                Responses to Plaintiffs' Ffrst Request for Admissions and Interrogatories lo Karl Robbins dale

    90                                                                ~esponses to Plainl!ffs' First Request for Admissions and Interrogatories ta Margarita Dlaz~Berg da

    91                                                                Responses to Plaintiffs' First Request for Admissions and Interrogatories lo Frank Salinsky dated 0

    92                                                                Responsm, to Plaintiffs' Flrst Request for Admissions and Interrogatories to Corey Kroes dated 07/

    93                                                                Responses lo Plalntlffs' f=lrst Request for Admissions and Interrogatories to Richard Lopez dated O

    94                                                                Responses to Plaintiffs' r'lrst Request for Admissions and Interrogatories to Crystal Jacks dated 07

    96                                                               Responses lo Plaln11ffs' First Request for Admissions and lntauogatories to Luka lee dated 07/15/'

   96                                                                Responses to Plaintiffs' First Request for Admlsslons and Interrogatories to Fro!lan Santiago dated

   97                                                                Responses to Plaintiffs' First Request for Admrsslons and Interrogatories to Alexander Ayala dated

   98                                                                Photograph of the Spit mask (DCF No, 90-4).

            1001                                                     Perry Certlfled Medicar Records from Aurora Sinai Med!c;al Center (9/13/2010)

            1002                                                    . Medical Records Screening Form

            1003                                                     MPD Incident Report 102560219 - SL1pplement No. 3

            1004                                                     SOP - 090-Ptl'sonsers ~. l::ffecllve May 19, 2010

           1"005                                                     MPD Incident Rep<:>rl 102560219 - ORIGINAL; Page 2 of 7

           1006                                                      MPD Educational Material&- Student Version - Officer Responslbllllles (pp. 26~27)

           1007                                                      MPD Incident Report 102560219 - Supplement No. 22

           1008                                                     MPO Incident Report 102560219 -Supplement No. 2

           1009                                                     MPD E:ducatlonal Materials - Student Version~ Position a! Asphyxia (p, 46)

           1010                                                     CAD #102561995 from 9/13/2010

           1011                                                     MPD Incident Report 102560219 - Origlnol (pp. 6-7)

           1012                                                     MPD Incident Roport 102560219. Supplement No. 12; MPD00193-196
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                   Case 2:12-cv-00664-JPS Filed 02/25/19 Page 5 of 15 Document 323
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                                                       UNITED STATES DISTRICT COURT
                                      Eastern                                                DIS1RICTOF                                       Wisconsin



                                                                                                                           EXHIBIT AND WITNESS LIST
                                             v.
                                                                                                                             Case Number: 12-CV-664

   PRESIDING JUDGE                                                      PLAINTIFF'S ATTORNEY                                       DEFENDANT'S ATTORNEY
    JUDGE J.P. Stadtmueller                                              James J. Gende                                             Susan Lappen
   TRIAL DATE (S')                                                      COURT REPORTER                                             COURTROOM DEPUTY
    03/25/2019
    PLF,      DE.I',         DATE          MARKED ADMITTEI                                                     DESCRIPTJON OF EXHIBITS' AND WJTNESSES
    NO,        NO.        OFFBRED

              1013·                                                      MPD Incident Report 102560219-Supplemenl No, 12; MPD00083-86

              1014                                                       MPD PPD Pl-44 - Conclusion of Internal Investigation (PPD-20'!0-0532)

              1015                                                       SOP- 090-Prisoners~- Roll Call version RE: Investigative Holds -- Effective 3/23/2011

             1016                                                        MPD Incident Report 102560219 - Supplement No. 4

             1017                                                        MPD Incident Report 102560219- Supplement No, 5

             1018                                                        Deify Cell Block C~eck

             1019                                                        Paradigm Shift Worl<ahaet

             1020                                                       Transcript of MPD Youtube Video recorded 10.30.12 with Aurora Patient Education

             1021                                                        IAD Memo from Sgt. Rae/aw to Lt. Sgrlgnuoll RE: Lt. Karl Robbins (11121/2012)

             1022                                                       Expressmilwaukee.com arllclea (2)

             '1023                                                      Mr-iD Incident Report 102560219-SuppJement No. 25

             1024                                                       Letterwlth Second supplement-al Responses to Plaintlffs' Request Nos, 2 & 4 and Amended Respo

            1025                                                        SOP, 090 - Prisoners -- Effective 5119/201 O(pp. 1-3 of 31)

            1026                                                        MPD Incident Report 102560219 - Supplemenl No. 30 (10112/2012)

            1027                                                        MPD Incident Report 102560219 Supplement No. 8
                                                                                                                     #




            1028                                                        MPD PPO. Pl-44 ~ Oonclusfon of Internal tnvestlgation (PPD-2010-0532)

            1029                                                        MPD Incident Report 102660020 - Original

            1030                                                        MPD Incident Report 1"02660020 - Supplement No. 5

            1031                                                        MPD Incident Report 102560020-Supplemant No. 8

           1032                                                         MPD lncld<lnt Report 102560219 - Supplement No. 13

            1033                                                       MPD Incident Report 102560219 - Supplement No.18

           1034                                                        MPD Incident Report 102560219~ Supplement No. 19
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                   Case 2:12-cv-00664-JPS Filed 02/25/19 Page 6 of 15 Document 323
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                                                    UNITED STATES DISTRICT COURT
                                    Eastern                                             DISTRICT OF                                      Wisconsin



                                                                                                                     EXHIBIT AND WITNESS LIST
                                           V.
                                                                                                                       Case Number: 12-CV-664.

   PRESIDJNG nJDGE                                                  PLAINTJFF'S ATTORNEY                                     DEFENDANT'S ATTORNEY
    JUDGE J.P.. Stadtmueller                                          James J. Gende                                          Susan Lappen
   TRIALDATE(S)                                                      COURT REPORTER                                          COURTROOM DEPUTY
    03/25/2019
    PLli'.    DEF.         DATE
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    NO,       NO.

              1035                                                    MPD Incident Report 102560219 - Supplement No. 21

              1036                                                   Guardianship Paperwork for minor child - 3/8/201'0

              1037                                                   Uniform Child Custody Affidavit -- 3/8/201 o

              1038                                                   Birth Certificate of Minor Child (James P. Perry I; DOB: 1212212001)

              1039                                                   Determination and Order on P0trtion for Guardianship of Minor -- 4/30/2010

              1040                                                   VerJflcatron Letter fur Kinship Care payments (4/22/2014)

             1041                                                    Divorce Documents of Anglia Garner-- November 1990

             1042                                                    SSA-1099 for 2013 PaymC1nts received by Anglia Garner for JEimes F Perry

             1043                                                    Cover Letter from Me$6me1 Catholic Schools (encl. Application)

             1044                                                    Decedent1a Social Security Card and State ID

             1045                                                    Decedent's Birth Certificate -- James Franklin Perl'Y Jr. DOB: 4/1 B/1969

             1046                                                    MPD Incident Report 102560219 -Orlglnal & Supplement Noa, 1, 2, 4-13, 15, 17-19, 21-23, 26-31

             1047                                                   MPD Incident Report 102560219 - Supplement Nos. 23, 10, 11, 4, 9, 5

             1048                                                   MPD Incident Report 102560219- Supplement No. 24

             1049                                                   MPD Ambulance Records

             1050                                                   MFD Memo from Kimber lo Lt. Behling re: 9/13/2010 run (dated 11/2/2011)

             1051                                                   Handwrlllen Notea 1'Aclmit & Release"

             1052                                                   Draft Version of Sandry Report

             1053                                                   Lappen e-mail to Sandry dated 2/26/2015

             1054                                                   MPD Expectorant Shield !raining - In-Service 2003-2004

             1055                                                   Sandry e-mall to Lappen datedA/16/2015

             1056                                                  MacGillis Report with Currlculum Vllae
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                    Case 2:12-cv-00664-JPS Filed 02/25/19 Page 7 of 15 Document 323
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                                                         UNITED STATES DISTRICT COURT
                                       Eastern                                                DISTRICT OF                                       Wisconsin



                                                                                                                           EXHIBIT AND WITNESS LIST
                                              V.
                                                                                                                             Case Number: 12-CV-664

    PRESIDING JUDGE                                                      PLAINTIPF'S ATTORNEY                                      DEFENDANT'S ATTORNEY
     JUDGE J.P. Stadtmueller                                              James J, Gen de                                           Susan Lappen
    TRIAL DATE (S)                                                       COURT REPORTER                                            COURTROOM DEPUTY
     03/25/2019
     PLF,      DEF,           DATE
     NO,        NO.        OFFERED          MARKED ADMITIEI                                                     DESCRIPTION OP EXHIBITS* AND WITNESSES

               1057                                                       MacGUlis handwritten notes

              1058                                                        CIRB Report

              1059                                                        Email to MacGU!is from Lappen 1/29/2015

              1060                                                        Email to MacG/111s from Lappen 2/4/2015

              1061                                                        Email to !AD from Lappen re: MacGlllls 2/26/2015

              1062                                                       Email from MacGlllls to Lappen 3/24/2015

              1063                                                       Email from MacGillls to Lappen 3/27/2015

              1064                                                       Email from MacGlllls to IAD/KW 3/30/2015

             1065                                                        complete critical Incident file 10-0532 (Dkl No, 95-2)

             1066                                                        Property Control/Property Sheet (MPD00313-314; Dkt. No. 95-4)

             1067                                                        Ordera for Detention/Release (Dkt. No. 95--7)

             1068                                                        CPR Training video cover 2001-2009 (0kt. No. 95-9)

             1069                                                       ln"service trnlnJng powerpolnt fo1• first responders (Dkt. No. 95~10)

             1070                                                       1'1tneline of Events on 9/13/2010 (based on Incident Report} (bkt. No, 95~11)

            1071                                                        24-40 Hour Temporary Holding Facrtity Course-- Instructor version, Student version, & Powerpoint

            1072                                                        MacGillis CV - cur1'.ent

            ·1073                                                       Waldron Expert Opinion wtt11 Cuniculum Vitae (0kt. No ..72-2)

            1074                                                        Prevot Resume

            1075                                                        Prevot Schadute of Fees

            1076                                                       Prevot Expert Reporl (Dkl. No, 72-1)

            10'/'/                                                     fnve3flgalive Report·(Medical Examiner}

            1078                                                       CD containing autopsy photos
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                     Case 2:12-cv-00664-JPS Filed 02/25/19 Page 8 of 15 Document 323
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                                                         UNITED STATES DISTRICT COURT
                                       Eastern                                                 DISTRICT OF                                      Wisconsin



                                                                                                                             EXHIBIT AND WITNESS LIST
                                               v.
                                                                                                                               Case Nrnnber: 12-CV-664

     PRESIDING nIDGE                                                      PLAINTIFF'S ATTORNEY                                       DEFENDANT'S ATTORNEY
      JUDGE J.P. Stadtmueller                                              James J. Gende                                             Susan Lappen
     TRIAL ])ATE (S)                                                      COURT REPORTER                                             COURTROOM DEPUTY
      03/25/2019
     PL.I!.     DEF.           DATE
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      NO.                   OFFERED

               1079                                                        Hand notes tal<en on scene

               1080                                                        Hand notes made during video viewing

               1081                                                        Bates MIiwaukee County 0463

               1082                                                        Demographic Report

               1083                                                        County Polley Legal Duty of Care

               1084                                                       Poulos CV - Current

               1085                                                       Allen, Warren deposl!Jon transcrlpt

               1086                                                       Amdt, Anthony deposJtion transcript

              1087                                                        Ayala, Alexander (Part I) deposition transcript

              1008                                                        Ayala, Alexander (Part II) deposition transcript

              1089                                                        Bell, Stephan depos/tfon transcript

              ·1090                                                       Borman Jr., Pale deposition transcript

              1091                                                        Btmgert, Rick deposition transcript

              1092                                                        Coogan MD, Paul.deposltlon transcript

              1093                                                        Davis, Marlon deposition transc1·fpt

              1094                                                        Diaz-Berg, Margarita deposition transcript

              1095                                                       Flynn, Chief Edwar.cl deposition transc~pt

              1096                                                       Franklln, Marquita depo.slt!on lransor!pl

              ·1097                                                      Gamer, Angila deposition tranacrlpf

              1098                                                       HalG-, Fatrena deposltkm transcript

              1099                                                       Holmes, DariusdepoSUkin transcript

              1100                                                       Ivy, Jacob (Part I) deposition transcript
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                      Case 2:12-cv-00664-JPS Filed 02/25/19 Page 9 of 15 Document 323
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                                                           UNITED STATES DISTRICT COURT
                                        Eastern                                                    DISTRICT OF                                       Wisconsin



                                                                                                                                   EXHIBIT AND WITNESS LIST
                                                v.
                                                                                                                                     Case Number: 12-CV-664

   PRESIDING illDGE                                                          PLAINTIFF'S ATTORNEY                                          DEFENDANT'S ATTORNEY
     JUDGE J.P. Stadtmueller                                                  James J. Gende                                               Susan Lappen
   TRIAL DATE (S)                                                            COURT REPORTER                                                COURTROOM DEPUTY
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    NO.         NO.         OFFERED

               1101                                                           Ivy, Jacob (Part II) cleposlllon lran$oript

               1102                                                           Jacks, ·Crystal deposition transcrlpf

              1103                                                            Jahnke MD, Renee deposition transcript

              1104                                                            Jeff, Shella deposition transcript

              1105                                                            Jones, Sllannon deposition transcript

              1106                                                            Kleckbusch, Kelly DVD of deposition

             1106a                                                            Kleckbusch, Kelty deposition iranscript

              1107                                                           Kimber, Jarod deposition transcript

             1108                                                            Kroes, Corey deposition transcript

              1109                                                           Lee, Luke deposition transcript

             1110                                                            Lopez, Richard deposition transcr!pt

             1111                                                            MaoGlllls, James deposlllon transcript

             1112                                                            Menzel, Rlchal'd deposition transcript

             1113                                                            Pape~Wright, Monica deposition transcript

             1114                                                            Pottertan, Rebecca DVD of d0positlon

            1114n                                                            Potterton, Rebecca deposition transcript

             1115                                                            Poulos MD, Chrlstopher deposition transcript

             1116                                                           Prevot, Robert deposition transcript

            1117                                                            Pueahner, Andrew deposition transoript

            1118                                                            Robbins, Karl deposition transcript

            1'119                                                           Salinsky, Franlr: deposit/an transcript

            ·1120                                                           Sandry, Mlchelfe deposltlon transcript
" T111.1lmle fl nomtion as to tl1Q l01.1alioll of any ro!.hibit not ]i(:ld with tbQ case file or not nvailabl~ because o±'B:lzo,
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                   Case 2:12-cv-00664-JPS Filed 02/25/19 Page 10 of 15 Document 323
           ~AO I87 (Rev 7ffi7) Exhibit and Wif:tJes:s List


                                                                  UNITED STATES DISTRICT COURT
                                               Eastern                                                    DIS1RICTOF                                            Wisconsin



                                                                                                                                         EXHIBIT AND WITNESS LIST
                                                       V.
                                                                                                                                           Case Number: 12-CV-664

         PRESIDING JUDGE                                                            PLAINTIFF'S AITORNEY                                          DEFENDANT'S AITORNEY
          JUDGE J.P. Stadtmueller                                                    James J. Gende                                                   Susan Lappen
         TRIAL DATE (S)                                                             COURT REPORTER                                                COURTROOM DEPUTY
          03/25/2019
          PLF,       DEF,           DATE
          NO,        NO,          OFFERED           MARKED ADMITTED                                                           DESCRJPTION OF EXHIBITS,i, AND WITNESSES

                    1121                                                             Santiago, Frollan deposition transcript

                    1122                                                             Schmldt, Richard deposition transcript

                    1123                                                            Thomas, Harold deposition trsnscript

                    1124                                                            Virgo, Nichole deposition transcript

                   1125                                                             Waldron MD, Rachel (Part I) deposition transcript

                   1126                                                             Waldron MD, Racl1el (Part JI} deposition transcript

                   1127                                                             Watts, Tina deposition transcript

                   1128                                                            Wenzel, Cheryl deposruon tram,cript

                   1129                                                            Medical Release Documenfa From ER

                   1130                                                            Detecfiv-e Flecher Interview of Perry AUDIO CD

                   1130{1                                                          Detective Fischer Interview of Perry rrarn3Clipt

                  1131                                                             Video from PPS pre-booking hallway

                  1131a                                                            Video from PPS pre-booking hallway transcript

                 113lb-1                                                           PPS pre-booking hallway still photoo (11 total: b-I)

                  1132                                                            Video from PPS booking room 611

                  1132a                                                           Video from PPS booking room 511 transcript                      .


                 l 132b-n                                                         Room 511 still photos (13 total; b-n)

                  1133                                                            Video from PPS booking room 615

                 II33a                                                            Video from PPS booking room 515 transcript

                 1134                                                             Video from PPS booking room 516

                 1134a                                                           Vfdoo from PPS booking room 516 tmnscript

                 1134b-i                                                         Room 516 s1111 photos (8 total; a-I)
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                                                    UNITED STATES DISTRICT COURT
                                    Eastern                                             DISTRICT OF                                         Wisconsin



                                                                                                                  EXBIBIT AND WITNESS LIST
                                           v.
                                                                                                                            Case Number: 12-CV-664

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    JUDGE J.P. Stadtmuelier                                           James J. Gende                                              Susan Lappen
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    03/25/2019
   PW',        u~·.         DATE         MARKED ADMITTED
               NO,
                                                                                                          DESCRIPTION OF EXHIBITS* AND WITNESSES
   NO.                   OlJFERED

              1135                                                    Video from PPS booking room 519

              l I3511                                                 Video from PF'S booking room 619 transorfpt

             11J6                                                    Video from elevator (1)

            1136a-d                                                   Elevator 1 still photos (4 total; a-d)

             1137                                                    Video from Elevator (2}

             I 137a-b                                                Elevator 2 stfll photos (2 total; a-b)

             1138                                                    Video from CJF - by door

            113811-"f                                                CJF ~ by door still photos (6 total; a-f)

            11:l9                                                    Video from CJF - by desk stalfon

           !139a-d                                                   CJF - by desk station sllll photoa (4 total; a-d)

            1140                                                     Diagram of 51h Floor (Clly Jail)

            1141                                                     Diagram of Basement SaHyport area of City Jafl

            1142                                                    Map showing PPS, CJF, MFD & Aurora locaUons

            1143                                                     Demonstrative Spit Mask

           U•l3a                                                    Photo of demonstrative spit mask

           Uo/111-i;i:                                              Photos of Perry's spit mask & MPD evidence 1mg (7 total; a-g; Dkt. No, 90-4)

           ll45a~o                                                  Coll A-3 Pilotos (5)

           1146                                                     DVD of Kfeckbusch deposition excerpts

           1147                                                     KlernbL1sch deposition excerpts transcript

           1148                                                     DVD of Polterton deposition exGerp!s

           1149                                                     Pottsrton deposlUon excerpts lranscript

           1150                                                       Medical Records highlighted by 15otterton
                                                      '. not lwld with tlte coso Mo 01' not nval111blea beoini~o of size,
* lnclude n t1ohltioJ1 !IS to the looa!lou of ally exhibit
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                   Case 2:12-cv-00664-JPS Filed 02/25/19 Page 12 of 15 Document 323
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                                                     UNITED STATES DISTRICT COURT
                                     Eastern                                              DIS1RICTOfl                                        Wisconsin



                                                                                                                       EXHIBIT AND WITNESS LIST
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    03/25/2019
    PLF,      DEF,         DATll
                                          MARKED ADMITTED                                                  DESCRIPTION OF EXHIBl'rS;, AND WLTNESSES
    NO,       NO,        OFFERED

             1151                                                      Potterton dfagram (hand-drawn)

             1152                                                      Jeffrey A. Brean, MD. Curriculum Vitae

             1153                                                      Jeffrey A. 8reall Experl Report

             1154                                                      Chad J. Z!.!.wltz, M.D. Curriculum Vitae

             1155                                                      Chad J. Zawttz Expert Report

                                                                      WITNESS: Garner, Angila

                                                                      WITNESS: Perry Jr., James Franklln

                                                                      WITNESS: Virgo, Nicole

                                                                      WITNESS: Kroes, Corey

                                                                      WITNESS: Santiago, Frollan

                                                                      WITNESS: Ivy. Jacob

                                                                      WITNESS: Lee, Luke

                                                                      WITNESS: Ayala, Alexander

                                                                      WITNESS: Sallnsky, Ftank

                                                                     WITNESS: Robbins, Karl

                                                                     WITNESS: Bungert, Rick

                                                                     WITNESS: Diaz-Berg, Margarita

                                                                     WITNESS: Jacks, Crystal

                                                                     WITNESS: Lopez, Richard

                                                                     WITNESS: Puechner, Andrew

                                                                     WITNESS: Kimber, Jarod

                                                                     WIT -.JESS: Hale, Fatrena                           .


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                 Case 2:12-cv-00664-JPS Filed 02/25/19 Page 13 of 15 Document 323
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                                                      UNITED STATES DISTRICT COURT
                                     Eastern                                                DISTRICT OF                                      Wisconsin



                                                                                                                          EXillBIT AND WITNESS LIST
                                            V.
                                                                                                                            Case Number: 12-CV-664

   PRESIDING JUDGE                                                     PLAINTIFF'S ATTORNEY                                       DEFENDANT'S ATIDRNEY
    JUDGE J.P. Stadtmueller                                              James J. Gende                                            Susan Lappen
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    03/25/2019
   PLF,       D~F.           DATE
                                           MARKED ADMITTED                                                    DESCRIPTION OF EXHIBITS* AND WITNESSES
   NO;        NO.         OFFERED

                                                                        WITNESS: Flynn, Edward

                                                                        WITNESS: Davl.':l, Marlon

                                                                        WITNESS: Bormann Jr., Dale

                                                                        WITNESS: Allen, Warren

                                                                        WITNESS: Thomas, Harold

                                                                        WITNESS: Evans, Tyrone

                                                                        WITNESS: Harrison, Michele R.

                                                                        WITNESS: Bell, Stephon

                                                                        WITNESS: Coogan M.D .. Dr. Paul

                                                                       WITNESS: Fischer, Todd

                                                                       WITNESS: Franklin, Marquita

                                                                       WITNESS: Jahnke M.D,, Dr. Renee,

                                                                       WJTNE'.SS: Jones, Shannon

                                                                       WITNESS: Kl0ckbusch, Kelly

                                                                       WITNESS: Pollerton R.N., Rebecca

                                                                       WITNESS: Wenzel, Cheryl

                                                                       EXPERTWITNESS:Waldron M.D .. Dr. Rachel L.

                                                                       EXPERT WITNESS: Prevot, Robert

                                                                       EXPERT WITNESS: Sand1y, Michelle

                                                                       EXPERT WITNESS: Poulos, Dr, Christopher

                                                                       EXPERT WITNESS: Macgillis, Lt. James

                                                                       EXPF.RT WITNESS: Zawitz M.D., Dr, Chad
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                                                       UNITED STATES DISTRICT COURT
                                      Eastern                                                DISTRICT OF                                      Wisconsin



                                                                                                                           EXHIBIT AND WITNESS LIST
                                             V.
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   PRESIDING JUDGE                                                      PLAINTIFF'S ATTORNEY                                       DEFENDANT'S ATTORNEY
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    03/25/2019
    n.,F,     DEF.           DATE          MARKED ADMIITEt
    NO.       NO.         OFJlERED                                                                             DESCRIPTION OP EXHJBITS* AND WITNESSES

                                                                         EXPERT WITNESS: Breall M.D., Dr. Jaffrey A.




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